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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                  4:09CR3069-2
                                             )
              V.                             )
                                             )
KELVIN L. STINSON,                           )                      ORDER
                                             )
                     Defendant.              )
                                             )


        IT IS ORDERED that the plaintiff’s motion to extend (filing 112) is granted. The
plaintiff’s statement of position and response to the defendant’s objection is due on or before
May 17, 2010. The undersigned’s tentative findings will be issued on or about May
18, 2010. Sentencing is continued until further order of the court. Counsel shall contact the
undersigned’s judicial assistant to reschedule sentencing.

       DATED this 7th day of May, 2010.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
